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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

   WAHOO FITNESS L.L.C.,                           )
                                                   )
                         Plaintiff,                )
                                                   )
          v.                                       )     C.A. No. 22-1295 (WCB) (SRF)
                                                   )
   ZWIFT, INC.,                                    )
                                                   )
                         Defendant.                )

               STIPULATION AND ORDER OF DISMISSAL WITH PREJUDICE

          Plaintiff Wahoo Fitness L.L.C. and Defendant Zwift, Inc. hereby stipulate, pursuant to Fed.

   R. Civ. P. 41(a)(2) and subject to the approval of the Court, to the dismissal of all claims and

   counterclaims against them in this action WITH PREJUDICE, with each party to bear its own

   costs, expenses and attorneys’ fees.

   MORRIS, NICHOLS, ARSHT & TUNNELL LLP                FARNAN LLP

   /s/ Jennifer Ying                                   /s/ Michael J. Farnan

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   August 31, 2023


                   SO ORDERED this 5th day of September, 2023.



                                                   WILLIAM C. BRYSON
                                                   UNITED STATES CIRCUIT JUDGE
